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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO



                                  ,                   )       CASE NO.
                                                      )
                    Plaintiff,                        )       JUDGE DAVID A. RUIZ
                                                      )
               v.                                     )
                                                      )       REPORT OF PARTIES’ PLANNING
                                  ,                   )       MEETING UNDER FED. R. CIV.
                                                      )       P. 26 (f) AND L.R. 16.3(b)
                    Defendant.                        )




     1. Pursuant to Fed. R. Civ. P. 26(f) and L.R. 16.3(b), a meeting was held on

___________________, 20               , and was attended by:

                                             counsel for plaintiff(s)

                                             counsel for plaintiff(s)

                                             counsel for defendant(s)

______________________________ counsel for defendant(s)


     2. The parties:

     _____ have exchanged the pre-discovery disclosures required by Rule 26(a)(1) and the

Court's prior order;

     _____ will exchange such disclosures by                                        ,20________;



                                                          1
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     _____ have not been required to make initial disclosures.

     3. The parties recommend the following track:

               □ Expedited         □ Standard            □ Administrative

               □ Complex           □ Mass Tort

     4. This case is suitable for one or more of the following Alternative Dispute Resolution

("ADR") mechanisms:

                □ Early Neutral Evaluation       □ Mediation            □ Arbitration

                □ Summary Jury Trial             □ Summary Bench Trial

                □ Case Not Suitable for ADR

     5. The parties          do/     do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. § 636(c).

     6. Recommended Discovery Plan:

         (a) Describe the subjects on which discovery is to be sought and the nature and extent

                of discovery.

         (b) Discovery cut-off date:

     7. Recommended dispositive motion date:

     8. Recommended cut-off date for amending the pleadings and/or adding additional parties:

     9. Recommended date for a Status Hearing:

     10. Other matters for the attention of the Court:



     11. If applicable, preliminary estimate and/or budget of the amount of anticipated attorney’s



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fees and expenses pursuant to statutory or case-law authority. Such estimate shall include but

not be limited to the following:

Attorney’s Fees                                     Costs
Preliminary Investigations
& Filing of Complaint          $                    Depositions    $

Procedural Motions Practice    $                    Experts        $

Discovery                      $                    Witness Fees   $

                                                    Other          $
                                            $
                                                    TOTAL COSTS $

Dispositive Motions Practice   $

Settlement Negotiations        $

Trial                          $

TOTAL FEES                     $




___________________________
Attorney for Plaintiff

___________________________
Attorney for Plaintiff

___________________________
Attorney for Defendant

___________________________
Attorney for Defendant




                                                3
Attachment 1
